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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                       Case No. 1:19-cv-23100-GAYLES/OTAZO-REYES


   COÖPERATIEVE RABOBANK U.A., New York
   Branch; BROWN BROTHERS HARRIMAN & CO.;
   BANK HAPOALIM B.M.; MITSUBISHI
   INTERNATIONAL CORPORATION; ICBC
   STANDARD BANK PLC; TECHEMET METAL
   TRADING, LLC; WOODFOREST NATIONAL
   BANK and HAIN CAPITAL INVESTORS
   MASTER FUND, LTD.,

                  Plaintiffs,

   vs.

   CROWE LLP,

                  Defendant.


                            ORDER GRANTING JOINT MOTION TO
                             ESTABLISH BRIEFING SCHEDULE

         THIS MATTER is before the Court on the Parties’ Joint Motion to Set Briefing Schedule

  (ECF No. ______) (“Joint Motion”). The Court having reviewed the Joint Motion and being

  otherwise duly advised in the premises, it is hereby

         ORDERED AND ADJUDGED that the Joint Motion is GRANTED. The briefing schedule

  set forth in the Joint Motion is approved as follows:

   No later than Plaintiffs to file their motion for abstention and Defendant to file its
   Wednesday,      transfer motion.
   August 7, 2019:

   Wednesday,           The parties to file their respective responses.
   August 21, 2019:
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                          Case No. 1:19-cv-23100-GAYLES/OTAZO-REYES


   Wednesday,         The parties to file their respective replies.
   August 28, 2019:

        DONE AND ORDERED in Chambers, at Miami, Florida, this ___ day of ______, 2019.



                                               Honorable Darrin P. Gayles
                                               United States District Court Judge

  Copies furnished to:
  All Counsel of Record




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